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IN THE UNITED STATES DISTRICT COURT 35 AUG 30 PH w l 0

FOR TI-IE WESTERN DISTRICT OF TENNESSE

 

WESTERN DIVISION HiOMF§ M, GOULD
CLEHK U.S. EtS?RICI_COURT
VWUU.P f"‘-: ‘,-:'§.*APH¥S
UNITED STATES OF AMERICA,
Plaintiff, Case No.: 04-20299 D

V.

DONNIE .TOI-INSON

Defendant.

 

ORDER DISMISS]NG INDICTMENT

 

The United States Attomey, through Assistant United States Attorney Camille McMullen,
appeared in open court on August 26, 2005, and moved to Withdraw the instant indictment For
cause, the motion is GRANTED.

Accordingly, the indictment as to Donnie Johnson is dismissedl

1T1s so oRDERED this 30*"` day of §§sz ,2005.

RNICE BOUIE DONALD
D STATES DISTRICT JUDGE

   

 

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 59 in
case 2:04-CR-20299 Was distributed by faX, mail, or direct printing on
September 7, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

